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                THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 CREATIVE PHOTOGRAPHERS, INC.,           )
                                         )
                Plaintiff,               )
                                         )
 v.                                      ) CIVIL ACTION FILE NO.
                                         )
 JULIE TORRES ART, LLC and JULIE         ) 1:22-cv-00655-JPB
 TORRES, MAUNE CONTEMPORARY, LLC, )
 AND INTERNATIONAL FINE ART DIRECT, )
 LTD.                                    )
                                         )
                Defendants.              )
 _______________________________________


      MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
  DISREGARD PLAINTIFF’S IMPROPER RESPONSE BRIEF [DKT. 32]

      Defendants Julie Torres Art, LLC and Julie Torres (together, “Ms. Torres”)

hereby move the Court to disregard Plaintiff Creative Photographers, Inc.’s (“CPi”)

response in opposition to Ms. Torres’ Motion to Dismiss [Dkt. 32]. Ms. Torres so

moves pursuant to this Court’s Standing Order Regarding Civil Litigation Section

III(c) and Civil Local Rules 5.1 and 7.1. In support of this request, Ms. Torres states

as follows:

      Local Rule 7.1(F) provides that the Court may “decline to consider any motion

or brief that fails to conform” to the Local Rule requirements, and the Court should



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do so here. CPi’s brief in opposition to Ms. Torres’ Motion to Dismiss (“CPi’s

Brief”) violates almost every Local Rule on the format of motion papers. It is drafted

in less than fourteen-point Times New Roman font. It does not have a one and a half

inch top margin. It is twenty-five pages as-filed, but with corrected formatting

exceeds the twenty-five page limit for response briefs by nearly ten pages, although

CPi did not request leave to exceed the page limit. And, unsurprisingly, CPi’s Brief

does not have a certification of compliance with the formatting requirements set out

in Local Rule 5.1. Further still, CPi’s Brief purports to improperly submit extensive

evidence beyond the pleadings.

         CPi is not prosecuting this case pro se, although much of the case law

analyzing formatting issues involves pro se parties that receive more leniency

because they are not lawyers themselves. Here, CPi has both Georgia local counsel

admitted to this Court and out-of-state lead counsel admitted pro hac vice. Both

CPi’s lead and local counsel signed CPi’s Brief. There is no excuse. The result is

prejudice to Ms. Torres, who has taken care to brief her motion economically within

the bounds of the Local Rules and must still observe an even stricter page limit in

reply.

         Thus, Ms. Torres respectfully requests that the Court exercise its discretion

not to consider CPi’s Brief as-filed. Ms. Torres defers to the Court on whether the


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result thereof is treating Ms. Torres’ Motion to Dismiss as unopposed, as other

Courts in this district have done, or another alternative.

        I.   LEGAL STANDARDS

                a. The Relevant Local Rules

      The Northern District of Georgia Local Rules provide a number of formatting

requirements for briefs filed with the Court. Local Rule 5.1(C) requires 14 point font,

if Times New Roman, that is double-spaced except in footnotes and indented

citations. Local Rule 5.1(D) requires that filed papers have a top margin of one and

a half inches. Local Rule 7.1(D) limits opening and response briefs to twenty-five

pages and requires that motion papers have a certification of compliance with LR

5.1. Local Rule 7.1(F) provides that a court may “decline to consider any motion or

brief that fails to conform” to the requirements set out in the Local Rules.

      Although a “motion to strike” is reserved strictly for pleadings, Courts in this

district routinely take up requests to disregard briefs that violate the Local Rules.

See, e.g., Aldridge v. Travelers Home and Marine Ins. Co., No. 1:16-cv-01247-SCJ,

2019 U.S. Dist. LEXIS 230313, at *2-3 (N.D. Ga. Feb. 21, 2019) (granting in part

motion to strike, construed as a motion to disregard, summary judgment brief that

exceeded the page limit); Pelican Communs., Inc. v. Travel Ctr. Entm’t, LLC, No.

1:15-cv-02878-SCJ, 2019 U.S. Dist. LEXIS 224804, at *2-7 (N.D. Ga. Sept. 16,


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2019) (granting motion to disregard a brief that violated the Local Rules and the

Court’s own order regarding motion practice); Malone v. Cherokee Cty., No. 1:17-

cv-1666-WSD, 2018 U.S. Dist. LEXIS 22056, at *5, n.4 (N.D. Ga. Feb. 9, 2018)

(declining to consider briefs filed in violation of the Local Rules); Milon v. Bank of

Am., N.A., No. 1:14-CV-01405-MHS-GGB, 2015 U.S. Dist. LEXIS 180377, at *10-

11 (N.D. Ga. Feb. 19, 2015) (declining to consider opposition to motion to dismiss

that violated Local Rules, citing LR 7.1(F)); Ali v. Pendergast & Assocs., P.C., No.

1:12-CV-02983-RWS-GGB, 2014 U.S. Dist. LEXIS 187881, at *6-7 and n.1 (N.D.

Ga. May 30, 2014) (noting the Court’s decision not to consider response briefs that

violated Local Rules, citing LR 7.1(F)); Mager v. Henry Schein, Inc., No. 1:13-CV-

3321-WBH, 2014 U.S. Dist. LEXIS 188999, at *2-3 (N.D. Ga. July 30, 2014)

(declining to consider improper response brief under Local Rule 7.1(F) and treating

summary judgment motion as unopposed).

                b. The Scope of Proper Motion to Dismiss Evidence

      It is improper to submit extrinsic evidence outside of the pleadings in a motion

to dismiss, whether on a Rule 12(b)(6) motion for failure to state a claim or a Rule

12(b)(1) motion for lack of standing made in the manner Ms. Torres has, as a

challenge to the face of the pleading. The Court may only “consider evidence

extrinsic to the pleadings on a Rule 12(b)(6) motion to dismiss if (1) the documents


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are referred to in the complaint; (2) the evidence is central to the plaintiff's claim;

and (3) the evidence's authenticity is not in question.” U.S. ex rel. Saldivar v.

Fresenius Med. Care Holdings, Inc., 906 F. Supp. 2d 1264, 1271 (N.D. Ga. 2012);

see also SFM Holdings, Ltd. v. Banc of America Sec., L.L.C., 600 F.3d 1334, 1337

(11th Cir. 2010); Brooks v. Blue Cross & Blue Shield, Inc., 116 F.3d 1364, 1368–69

(11th Cir. 1997). A Rule 12(b)(1) motion asserting a lack of standing can be made

as a “facial attack” on the Complaint, which “requires the court merely to look and

see if [the] plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and

the allegations in his complaint are taken as true for the purposes of the motion.”

Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990) (citations omitted).

       II.   ARGUMENT

                 a. The Court Can and Should Disregard CPi’s Opposition Brief
                    for Local Rule Violations, Whether on Ms. Torres’ Motion
                    or Sua Sponte

      CPi’s Brief blatantly violates Local Rule 5.1 and Local Rule 7.1. The purpose

behind these rules is to avoid “[e]xcessively lengthy briefs [that] place an

unnecessary burden on the court and opposing parties, who themselves have taken

the time to thoughtfully and economically eliminate excessive verbiage from their

own briefs, delivering them well within the page limitations that all parties are

expected to observe.” Employers Ins. of Wausau v. Latext Const. Co., No. 1:01-CV-



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1909-BBM, 2003 U.S. Dist. LEXIS 28210, at *50 (N.D. Ga. Sept. 2, 2003). CPi’s

Brief does just that.

       In violation of Local Rule 5.1(C), CPi’s Brief is prepared in smaller than 14

point Times New Roman font. In violation of Local Rule 5.1(D), CPi’s brief has a

top margin that is smaller than one and a half inches. In violation of Local Rule

7.1(D), CPi’s Brief exceeds twenty-five pages. When properly formatted, it reaches

35 pages. CPi’s Brief further violates Local Rule 7.1(D) by failing to include a

certification of compliance with LR 5.1, although CPi could not make such a

certification about its brief as-filed.

       These violations are surprising in nature and volume, including because CPi

is represented by two law firms who should know and familiarize themselves with

the Local Rules of practice. Although pro hac vice counsel might not be intimately

familiar with these rules, as another Court in this district has explained, “the court

strongly believes that Rule 11 requires more of local counsel than simply attaching

his name to pleadings or motions—he must ensure that Local Rules and the Federal

Rules of Civil Procedure are followed even if the pleading or motion is not prepared

by him.” Jackson v. Cronic, No. 2:11-CV-00058-WCO, 2013 U.S. Dist. LEXIS

203141, at *23 (N.D. Ga. Jan. 24, 2013) (quotation omitted); see also Muzzy Prods.

Corp. v. Primos, Inc., No. 4:05-CV-0182-HLM, 2006 U.S. Dist. LEXIS 103496, at


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*2 (N.D. Ga. Aug. 4, 2006) (“Local counsel bear responsibility for ensuring that

pleadings filed by local counsel on behalf of counsel admitted pro hac vice comply

with Local Rule 5.1C.”).

      The Court may decline to consider any motion or brief that does not conform

to the requirements of the Local Rules. L.R. 7.1F, NDGa. Such relief is appropriate

here where, to CPi’s prejudicial advantage, Ms. Torres has already briefed her

motion to dismiss in compliance with the Local Rules and must continue to comply

with those rules in responding to CPi’s forty-percent oversized brief in her reply.

There is no reason why CPi, represented by able counsel, should be permitted to

flout the rules of practice that even pro se parties are required to observe. In

disregarding CPi’s brief, the Court can consider Ms. Torres’ motion unopposed or

provide alternative relief such as ordering CPi to make a compliant filing if

persuaded by CPi’s forthcoming opposition argument. See, e.g., Mager, 2014 U.S.

Dist. LEXIS 188999 at *2-3; Milon, 2015 U.S. Dist. LEXIS 180377 at *10-11.

                 b. CPi’s Introduction of Evidence Beyond the Pleadings in a
                    Motion to Dismiss Opposition is Equally Improper

      Ms. Torres’ Motion to Dismiss asserts arguments under Rule 12(b)(6) for

failure to state a plausible claim and Rule 12(b)(1) for lack of standing that is evident

on the face of CPi’s Amended Complaint. Neither basis opens up the record beyond

the pleadings. Yet, CPi’s Brief injects a laundry list of “evidence” that is not present

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in the Amended Complaint, not incorporated by reference in the Amended

Complaint, and not even implied in the Amended Complaint. All of it should be

disregarded as improperly submitted.

        CPi’s outside-the-pleading evidence includes at least the following:

   1)      A new Declaration of Geoff Katz containing purported factual

           observations about the CPi and Afanador agreement that contradicts

           allegations actually pleaded in the Amended Complaint (Dkt. 34);

   2)      A new unpleaded factual allegation that Afanador has a “signature style of

           portraiture; black and white, spare, direct, and full of emotional impact that

           demonstrates an intimacy and connection with his subjects” (Dkt. 32, p.

           16);

   3)      New unpleaded factual allegations and incorporation of Afanador’s entire

           personal website, including portraits not at issue in this case, a list of

           subjects, and a list of commercial clients (Dkt. 32, p. 17);

   4)      A new unpleaded factual allegation that “the resulting visual simplicity of

           Afanador’s images, including Work, all are the result of careful planning,

           timing, instinct, and technical decision making that is the result of decades

           of experimentation and practice” (Dkt. 32, p. 17);




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5)      A new unpleaded factual allegation that CPi has a well-documented history

        of licensing Afanador’s images (Dkt. 32, p. 16);

6)      A third party invoice related to a different Afanador photograph than the

        one at issue here in Exhibit 1 to the new Katz declaration (Dkt. 34-1);

7)      A purported podcast interview with Ms. Torres (Dkt. 32, p. 18);

8)      Images of works from different cases (Dkt. 32-3, 32-4, 32-5);

9)      Images of other work by Ms. Torres and a third party photo (Dkt. 32-6);

10)     Five different third party websites offered as a purported “record of

        Afanador’s style and technique” (Dkt. 32, p. 24);

11)     A new unpleaded factual allegation that “Afanador is an internationally

        acclaimed photographer and fine artist who gained his reputation for his

        ability to both visualize and execute intimate, visually arresting images of

        his subjects” (Dkt. 32, p. 25);

12)     A new unpleaded factual allegation that CPi has a history “in the derivative

        market” (Dkt. 32, p. 29);

13)     A new unpleaded factual allegation that there “currently exists an

        extensive and diverse market to license photographs of celebrities, whether

        politicians, musicians, or judges” (Dkt. 32, p. 29);




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   14)     A new unpleaded factual allegation that CPi “regularly licenses its

           photographers’ images to advertisers, book publishers, and other third

           parties for non-editorial use” (Dkt. 32, p. 29);

   15)     A new and unpleaded “selection of third parties and the corresponding uses

           to which CPI licenses its photographers’ images” (Dkt. 32, p. 29) in

           Exhibit 7 (Dkt. 32-7)1; and

   16)     A new and unpleaded claim of “harm to CPI’s market to license the Work

           to publications for editorial purposes and to other artists to create

           derivative works based on the Work” (Dkt. 32, p. 16).

All of the foregoing is improperly before the Court as outside the scope of the

Amended Complaint and what could arguably be called incorporated by reference

therein.

      III.    CONCLUSION

      Ms. Torres respectfully requests, for the reasons stated above, that the Court

disregard CPi’s brief filed in opposition to Ms. Torres’ motion to dismiss the First

Amended Complaint.



      1
        Although Ms. Torres submits that the information described in this bullet
point should not be a part of the record on her motion to dismiss, Exhibit 7 appears
to be a collection of images of Ms. Torres’ work and not third party uses of CPi
images as indicated in CPi’s Brief.

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     Respectfully submitted this 22nd day of April 2022.

                                            /s/ Lindsay Mitchell Henner
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                                            ATTORNEYS FOR DEFENDANTS
                                            JULIE TORRES ART, LLC & JULIE
                                            TORRES




           CERTIFICATION OF COMPLIANCE WITH LR 5.1

     Counsel for Defendants Julie Torres Art, LLC and Julie Torres certifies that

this paper was prepared with Times New Roman 14-point font.

                                            /s/ Lindsay Mitchell Henner
                                            Lindsay Mitchell Henner




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                           CERTIFICATE OF SERVICE

      I hereby certify that on April 22, 2022, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF System which will

automatically send email notification of such filing to all attorneys of record.


This 22nd day of April 2022.


                                               /s/ Lindsay Mitchell Henner
                                               Lindsay Mitchell Henner




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